                           UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

IN RE:                                                       Case No. 10-66729

NEIL J. DAVIS,                                               Chapter 7

            Debtor.                                          Judge Thomas J. Tucker
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            MEMORANDUM REGARDING ATTORNEY FEE APPLICATION
                   AND CERTIFICATION OF NO RESPONSE

         On March 22, 2011, the Trustee's attorney filed a fee application. The Applicant’s 21-

day notice of this fee application was served by mail on the appropriate parties on March 22,

2011. The Applicant filed a Certification of No Response on April 15, 2011, indicating that no

one had objected to the fee application.

         The Certification of No Response was filed prematurely, because the time for filing

objections has not yet expired. The deadline for objections is April 15, 2011. This deadline is

determined by first adding 21 days to the date of service of the 21-day notice, plus 3 days. The

three days is added under Fed.R.Bankr.P. 9006(f), whether the 21-day notice was served by mail

or electronically through the Court’s CM/ECF system. In the case of parties served only

electronically with the 21-day notice, through the Court's CM/ECF system, the Court’s ECF

Administrative Procedures state that three days is still added in calculating the objection

deadline. See ECF Procedure 12(f)(available on the Court's website at

http://www.mieb.uscourts.gov/cmecfInfo/ECFAdminProc.pdf). Then, if the 24th day after

service falls on a Saturday, Sunday, or a Legal Holiday, the objection deadline is the next day

which is not a Saturday, Sunday, or Legal Holiday. See Rule 9006(a)(1)(c), Fed.R.Bankr.P.; and

L.B.R. 9014-1(c)(E.D.M.).




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       The Court will not act on the Applicant’s fee application until the Applicant files a new

Certification of No Response that is based upon the correct objection deadline.



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Signed on April 15, 2011




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